       Case 2:93-cv-00902-RBS Document 493 Filed 09/18/18 Page 1 of 2 PageID# 3053

                    UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF VIRGINIA
                                   NORFOLK DIVISION



                              Tuesday, September 18^ 2018
MINUTES OF PROCEEDINGS IN          Open Court

PRESENT; THE HONORABLE        Rebecca Beach Smith, CUSDJ
Deputy Clerk; S. Cherry                              Reporter; Jody Stewart, OCR
 Set; 1;00 p.m.               Started; 1;00 p.m.                Ended; 2;00 p.m.
 2;93cv902                    R.M.S. TITANIC,    INC.,   etc.
                              V.

                              The Wrecked and Abandoned Vessel,        etc.



      Robert McFarland and Brian Wainger present on behalf of plaintiff.

     Kent Porter, AUSA, present on behalf of USA, with Matthew Troy, US
Department of Justice, and Jackie Rolleri, counsel for HOAA.

      Matter Ccune on for continuation of Status Hearing (from 8/21/2018), and
 hearing on the pending Motion to Intervene (dociament no. 474) .
      Comments of counsel heard re status reports filed and Bankruptcy
proceedings.
      Evidence presented (Exhibit list attached).

     The court ordered that the Motion to Intervene filed by Trustees of the
National Maritime Museum be held in abeyance pending further proceedings of
 the court.

      As stated from the bench,     the court directed RMST and NOAA to attempt to
prepare an agreed order re the trays and the rusticles and submit the agreed
order to the court on or before September 27, 2018.   If they are unable to
sxibmit an agreed order, RMST shall present it's own order on or before
September 27, 2018.   Further hearing scheduled for September 28, 2018, at
 1;00 p.m., if necessary.
      Court adjourned.


Later, after court;      Hearing scheduled for October 25, 2018, re the
Bankruptcy proceedings.


Also present in the courtroom:  Eddie Powers, Neil Quartaro, and James
McClammy on behalf of Trustees of the National Maritime Museum; Harris
Winsberg, Bankruptcy counsel.
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                                        UNITED STATES DISTRICT COURT
                                               EASTERN DISTRICT OF VIRGINIA
                                                       Norfolk Division



                                                                                                  EXHIBIT LIST
R.M.S.        TITANIC,         INC.,    etc.
PLAINTIFF

                           V.


The Wrecked and Abandoned Vessel,                          etc.
DEFENDANT                                                                                CASE NUMBER:    2 : 93cv902
1
    PRESIDING JUDGE                             COURTROOM DEPUTY                        COURT REPORTER

    Rebecca Beach Smith                         Susan Cherry                            Jody Stewart, OCR
                                                PLAINTIFF ATTORNEY(S>                   AMICUS USA ATTORNEY<S)
    Sept ember H 3, 2018
                                                Robert McFarland                        Kent Porter,             AUSA
    {Sta tus hea]ring)
                                                Brian Wainger

    PLF     Defendant   DhTB      AdDlttad
                        Offered
                                                                   DESCRIPTION OF EXHIBITS
    NO.     NO.



                                    X        Amicus USA #1 -            Letter dated 9/17/2018, to
                                             Expedition Yacht Operations and Services re
                                             authorization from NOAA

                                    X        Amicus USA #2 -            Photos   (2)   of tray (2 pages)

                                    X        Amicus USA #3 - Letter dated 9/14/2018, from USDOJ
                                             to Robert McFarland and Brian Wainger
